                      Case 1:21-cr-00233-EGS Document 1 Filed 02/25/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of &ROXPELD

                   United States of America                         )
                              v.                                    )
               William Robert Norwood III                           )      Case No.
         (AKA: Robby Norwood, Robbie Norwood)                       )
                 DOB: XX/XX/XXXX                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021             in the county of                                       in the
                         LQWKH'LVWULFWRI      &ROXPELD , the defendant(s) violated:
             Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1) and (2) - Knowingly Entering or Remaining in any Restricted Building or
        Grounds Without Lawful Authority,
        40 U.S.C. § 5104(e)(2)(D), (G) - Violent Entry and Disorderly Conduct on Capitol Grounds,
        18 U.S.C. §§ 1512(c)(2) and 2 - Obstruction of Justice/Congress,
        18 U.S.C. § 641 - Theft of Government Property.


         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                              Complainant’s signature

                                                                                       Tyler N. Freeman, Special Agent
                                                                                              Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                            Digitally signed by G. Michael
                                                                                                         Harvey
Date:                                                                                                    Date: 2021.02.25 20:48:10 -05'00'
                  02/25/2021
                                                                                                 Judge’s signature

                                        :DVKLQJWRQ'&                    G. MICHAEL HARVEY, U.S. MAGISTRATE JUDGE
City and state:                                                                    _                                             _
                                                                                              Printed name and title
